Case No. 1:21-cv-01073-CMA-NRN Document 95-1 filed 07/06/23 USDC Colorado pg 1 of
                                      2




                         PLAINTIFFS’ PRELIMINARY WITNESS LIST

   1:21-cv-01073-CMA-NRN; Aaron H. Fleck Revocable Trust, et al. v. First Western Trust Bank
   et al.

      Witness Name                    Description of Testimony                   Time on   Time
                                                                                  Direct    on
                                                                                           Cross
   Will Call Witnesses
   1. Aaron Fleck          Mr. Fleck will testify regarding communications,
                           contracts and agreements with FWTB,
                           representations and omission made by FWTB,
                           tax matters and the claims asserted in this action.
   2. Charles Bantis       Mr. Bantis is FWTB’s Manager for its Aspen
                           branch and will be called to testify about
                           solicitation of the Fleck’s business, management
                           of the Flecks’ investment accounts and
                           communications with the Flecks
   3. Andrew Godfrey       Mr. Godfrey was a Wealth Advisor at FWTB
                           and will be called to testify about solicitation of
                           the Fleck’s business, management of the Flecks’
                           investment accounts and communications with
                           the Flecks
   May Call Witnesses
   4. John Sawyer          Mr. Sawyer is FWTB’s Chief Investment Officer
                           and may be called to testify about
                           communications with the Flecks, solicitation and
                           management of the Fleck’s accounts, bank
                           policies, and supervision and oversight of
                           FWTB’s trust officers
   5. Doug Barker          Mr. Barker may be called to testify regarding
                           management of the Flecks’ accounts while he
                           acted as portfolio manager for FWTB, including
                           but not limited to the parties’ communications,
                           contracts, account management, and bank
                           policies for tax loss harvesting,
   6. Leah Sankey          Ms. Sankey may be called to testify regarding
                           management of the Flecks’ accounts while she
                           was acting as a Trust Officer for FWTB
   7. Travis Van           Mr. Van Domelen may be called to testify
      Domelen              regarding his interactions and communications
                           with the Flecks during the course of their
                           relationship with FWTB
   8. Tim Hassal           Mr. Hassal may be called to testify regarding his
                           interactions and communications with the Flecks
                           during the course of their relationship with
Case No. 1:21-cv-01073-CMA-NRN Document 95-1 filed 07/06/23 USDC Colorado pg 2 of
                                      2




                         FWTB
   9. Josh Wilson        Mr. Wilson may be called to testify regarding the
                         Flecks’ relationship with FWTB while the Bank
                         managed their accounts, including but not
                         limited to efforts to retain the Flecks’ accounts
                         after they grew dissatisfied with the Bank’s
                         services
   10. Lene Simnioniw    Ms. Simnioniw may be called to testify
                         regarding the Flecks’ relationship with FWTB
                         while the Bank managed their accounts and her
                         role in the governance group at the bank.
   11. Brice Williams,   Mr. Williams may be called to testify regarding
       CFA               FWTB’s tax loss harvesting policies and review
                         of the Fleck accounts
